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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

WISCONSIN ALUMNI RESEARCH
FOUNDATION,
a Wisconsin corporation,
Civ. Action No. ll-cv-00785-BBC

Plaintiff,
v.
SIEMENS AG
a German corporation,
- and -
SIEMENS MEDICAL SOLUTIONS USA,
INC., a Delaware corporation,

Defendants.

ORDER OF DISMISSAL WITH PREJUDICE

Before the Court is Plaintiff Wisconsin Alumni Research Foundation and Defendants
Siemens AG and Siemens Medical Solutions USA, Inc.’s Stipulation of Dismissal With
Prejudice. Having considered the Stipulation of Dismissal and finding good cause, then
Stipulation of Dismissal is GRANTED.

It is, therefore, ORDERED:

l) All claims and counterclaims asserted in the above-captioned matter are dismissed

with prejudice; and

2) The parties shall each bear its own costs and attorneys’ fees.

Dated: \J~M /5¢ ZO/z m,¢¢, /§.> CL¢/K/L
The Honorable Barbara B. Crabb
U.S. District Judge

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